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       15005 NW Cornell LLC
6

7

8
                                          UNITED STATES BANKRUPTCY COURT
9
                                               FOR THE DISTRICT OF OREGON
10

11     In re

12     15005 NW CORNELL LLC, and                            19-31883-dwh11 (Lead Case)

13     VAHAN M. DINIHANIAN, JR.                             19-31886-dwh11

14                                Debtors. 1                Jointly Administered Under
                                                            Case No. 19-31883-dwh11
15
       15005 NW CORNELL LLC, an Oregon                      Adv. Proc. No. _____________________
16     limited liability corporation,
17                               Plaintiff,                 COMPLAINT
18             v.                                           1) Avoidance of Unperfected Interest – 11
                                                               U.S.C. § 544
19     TASHA TEHERANI-AMI, IN HER
       CAPACITY AS THE TRUSTEE OF THE                       2) Avoidance of Fraudulent Transfer – 11
20     SONJA DINIHANIAN GST TRUST DTS                          U.S.C. § 544, 548
       01/01/11,
21                                                          3) Declaratory Judgment
                                 Defendant.
22

23                  15005 NW Cornell LLC (“Plaintiff”), for its causes of action against Tasha Teherani-Ami, in

24

25     1
        The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
       number, are: 15005 NW Cornell LLC (5523) and Vahan M. Dinihanian, Jr. (0871) (Case No. 19-31886-
26     dwh11)).
                                                                                       Perkins Coie LLP
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PAGE   1-      COMPLAINT                                                             Portland, OR 97209-4128
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1      her capacity as the trustee of the Sonja Dinihanian GST Trust DTS 01/01/11 (the “Trust” or

2      “Defendant”) states, claims, and alleges as follows:

3                                                   THE PARTIES

4             1.      Plaintiff is a manager-managed Oregon limited liability company. Plaintiff is 50%
5
       owned by Eagle Holdings LLC and 50% owned by the Trust. Vahan M. Dinihanian, Jr. (“Dinihanian”)
6
       is the Plaintiff’s Manager, as provided in Plaintiff’s Operating Agreement.
7
              2.      Tasha Teherani-Ami, formerly known as Tasha Dinihanian, in her individual capacity
8

9
       (“Teherani-Ami”) is a resident of the State of Oregon and at all material times has resided in or around

10     the City of Portland, State of Oregon.

11                                         JURISDICTION AND VENUE

12            3.      Pursuant to the provisions of 28 U.S.C. § 157(b)(1) and 28 U.S.C. § 157(b)(2)(H) and
13
       (O), (a) this Court has jurisdiction over the subject matter of this adversary proceeding and (b) this
14
       matter is a core proceeding.
15
              4.      Venue is proper pursuant to the provisions of 28 U.S.C. § 1409(a).
16
                                                         FACTS
17

18            5.      Plaintiff is the owner of a 50% undivided interest in the real property and improvements

19     located at 15005 NW Cornell Road, Beaverton, Oregon, more particularly described in the attached

20     Exhibit A (the “Farm”). Plaintiff’s 50% interest in the Farm is Plaintiff’s only asset, and is of
21
       significant value.
22
              6.      On or about August 22, 2012, Defendant filed a petition for dissolution of her marriage to
23
       Dinihanian in the Multnomah County Circuit Court, Case No. 1208-68730 (the “Divorce Proceeding”).
24
              7.      Plaintiff was not a party to the Divorce Proceeding.
25

26            8.      Defendant was not a party to the Divorce Proceeding.
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1             9.      Teherani-Ami and Dinihanian both agreed and stipulated to the entry of General
2
       Judgment of Dissolution of Marriage (the “Judgment”), entered on the court’s registry on March 22,
3
       2016. Teherani-Ami and Dinihanian both signed the Judgment in their individual capacities prior to
4
       entry of the Judgment by the court in the Divorce Proceeding.
5
              10.     Plaintiff did not sign the Judgment.
6

7             11.     Defendant did not sign the Judgment.

8             12.     Plaintiff was not indebted to Defendant or Teherani-Ami prior to the conclusion of the

9      Divorce Proceedings.
10
              13.     The Judgment included a purported obligation for Dinihanian to “cause [Plaintiff] to
11
       execute and deliver to [Defendant] a statutory warranty deed conveying an undivided and unencumbered
12
       25% interest in the Farm in exchange for Sonja’s membership interest in [Plaintiff].”
13
              14.     Plaintiff has not signed or delivered a deed to transfer any interest in the Farm to
14

15     Defendant.

16            15.     Defendant asserts that the Judgment and Oregon Rule of Civil Procedure 71 has effected
17     a transfer of one-half of Plaintiff’s interest in the Farm (the “Disputed Transfer”). Plaintiff received no
18
       consideration in exchange for the Disputed Transfer.
19
              16.     At the time of entry of the Judgment, Plaintiff generated no revenue, through its interest
20
       in the Farm or otherwise.
21

22
              17.     Plaintiff filed a voluntary petition under chapter 11 of the United States Bankruptcy Code

23     on May 21, 2019 (the “Petition Date”), in the United States Bankruptcy Court for the District of

24     Oregon, entitled In re 15005 NW Cornell LLC, Case Number 19-31883-dwh11 (the “Chapter 11
25
       Case”).
26
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1                                            FIRST CLAIM FOR RELIEF
                              (Avoidance of Transfer or Obligation – 11 U.S.C. § 544(a)(3))
2
               18.      Plaintiff re-alleges paragraphs 1-17 above.
3

4              19.      Under 11 U.S.C. § 544(a)(3) and 550, Plaintiff, with the powers of a trustee pursuant to

5      11 U.S.C. § 1107(a), and without regard to any knowledge of the trustee or of any creditor, may avoid a
6      transfer of an interest in property of a debtor, or an obligation incurred by the debtor, from a transferee
7
       that is avoidable by a bona fide purchaser of real property from Plaintiff who has perfected such transfer
8
       as of the commencement of the bankruptcy case, whether or not such a purchaser exists.
9
               20.      Plaintiff held legal title to an undivided one-half interest in the Farm as of the Petition
10

11
       Date.

12             21.      Plaintiff was not a party to the Divorce Proceedings or the Judgment. As a result, a bona

13     fide purchaser of Plaintiff’s interest in the Farm, as of the Petition Date, would not have had constructive
14
       or record notice of either:
15
                     a. the Disputed Transfer; or
16
                     b. any obligation for Plaintiff to transfer half of its interest in the Farm to Defendant.
17
               22.      Pursuant to 11 U.S.C. § 544(a)(3), Plaintiff is entitled to a judgment avoiding any
18

19     obligation to transfer a one-half interest in the Farm to Defendant, or any transfer of such an interest that

20     could have occurred by virtue of the Divorce Judgment.

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1                                       SECOND CLAIM FOR RELIEF
                            (Avoidance of Transfer or Obligation – 11 U.S.C. § 544(b))
2
                23.   Plaintiff re-alleges paragraphs 1-22 above.
3

4               24.   Under 11 U.S.C. § 544(b) and 550, Plaintiff, with the powers of a trustee pursuant to 11

5      U.S.C. § 1107(a), may avoid a transfer of an interest in property of a debtor or any obligation incurred
6      by the debtor that is voidable under applicable non-bankruptcy law by a creditor holding an unsecured
7
       claim.
8
                25.   Defendant has alleged and continues to assert that the Disputed Transfer occurred by
9
       operation of Oregon law sometime between entry of the Judgment and the Petition Date. To the extent
10

11
       the alleged Disputed Transfer occurred, such transfer occurred within four (4) years of the Petition Date.

12              26.   Plaintiff did not receive reasonably equivalent value in exchange for the Disputed

13     Transfer.
14
                27.   Plaintiff received no value in exchange for the Disputed Transfer.
15
                28.   At the time the Disputed Transfer supposedly occurred, (a) Plaintiff was insolvent, or (b)
16
       the Disputed Transfer caused, or Plaintiff should have believed the Disputed Transfer would cause,
17
       Plaintiff to become insolvent by incurring debts beyond its ability to pay its debts as they became due.
18

19              29.   Plaintiff became unable to pay its debts as they became due.

20              30.   Pursuant to ORS 95.230, 95.240 and 95.260, applicable to this proceeding through 11

21     U.S.C. §§ 544(b) and 550, the Disputed Transfer is avoidable.
22
       ///
23
       ///
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26
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1                                            THIRD CLAIM FOR RELIEF
                                               (Declaratory Judgment)
2
               31.      Plaintiff re-alleges paragraphs 1-30 above.
3

4              32.      The Judgment was an agreement between Teherani-Ami and Dinihanian. Neither

5      Plaintiff nor Defendant were parties to that agreement, and neither Plaintiff nor Defendant signed the
6      Judgment indicating their assent to the terms of the Judgment.
7
               33.      Pursuant to the terms of the Judgment, Plaintiff was to receive “Sonja’s membership
8
       interest in 15005 NW Cornell LLC.” Judgment, page 18, line 8. No such interest exists or has existed.
9
       To the extent the Judgment contemplated the transfer of the Defendant’s membership interests and
10

11
       Plaintiff’s, the transfer of such interest is of no value to Plaintiff. No consideration was provided to

12     support any obligation for Plaintiff to transfer half of its interest in the Farm.

13             34.      Additionally, Plaintiff did not request or bargain for any of the purported consideration
14
       that would have been provided in exchange for the obligation to transfer half of Plaintiff’s interest in the
15
       Farm. As a result, any obligation to make such transfer is unenforceable.
16
               35.      Additionally, the judgment was not signed by Dinihanian in his capacity as Plaintiff’s
17
       manager. As a result, the purported obligation for Plaintiff to transfer one-half of its interest in the Farm
18

19     was not subscribed by any lawful agent with “such formalities as are required by law,” as is required by

20     ORS 93.020(1). As a result, the obligation to transfer half of Plaintiff’s interest in the form is void and

21     unenforceable.
22
                                                 PRAYER FOR RELIEF
23
               WHEREFORE, Plaintiff prays for relief as follows:
24
               A.       Entry of judgment avoiding any transfer of half of Plaintiff’s interest in the Farm;
25
               B.       Entry of judgment avoiding any obligation for Plaintiff to transfer half of its interest in
26
                                                                                         Perkins Coie LLP
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1      the Farm;

2             C.     Entry of Judgment declaring the agreement between Dinihanian and Teherani-Ami,

3      embodied by the Judgment in the Divorce Proceedings, unenforceable as to Plaintiff; and

4             D.     Such further and equitable relief as the Court deems just and equitable.

5

6      Dated: July 23, 2020                             PERKINS COIE LLP
7                                                       By: /s/ Douglas R. Pahl
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11
                                                       Counsel for Plaintiff
12                                                     15005 NW Cornell LLC
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